             17-22453-rdd               Doc 5        Filed 04/01/17 Entered 04/02/17 00:21:13                                      Imaged
                                                     Certificate of Notice Pg 1 of 4
Information to identify the case:
Debtor
                East Village Properties LLC                                                 EIN 47−4811437
                Name


United States Bankruptcy Court Southern District of New York                                Date case filed for chapter 11 3/28/17
Case number: 17−22453−rdd


Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15




For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       East Village Properties LLC


  2. All other names used in the
     last 8 years

                                              777 Third Avenue
  3. Address                                  17th Floor
                                              New York, NY 10017

                                              Arnold Mitchell Greene
                                              Robinson Brog Leinwand Greene                              Contact phone (212) 603−6300
  4. Debtor's attorney                        Genovese & Gluck, P.C.
      Name and address                        875 Third Avenue                                           Email: amg@robinsonbrog.com
                                              9th Floor
                                              New York, NY 10022

  5. Bankruptcy clerk's office                300 Quarropas Street                                       Office Hours: Monday − Friday 8:30 AM
      Documents in this case may be filed     White Plains, NY 10601                                     − 5:00 PM
      at this address.
      You may inspect all records filed in
      this case at this office or online at   Clerk of the Bankruptcy Court:                             Contact phone 914−390−4060
      www.pacer.gov.                          Vito Genna                                                 Date: 3/30/17

  6. Meeting of creditors                     May 3, 2017 at 01:00 PM                                    Location:
      The debtor's representative must
      attend the meeting to be questioned The meeting may be continued or adjourned to a later           United States Bankruptcy Court,
      under oath.                         date. If so, the date will be on the court docket.             SDNY, 300 Quarropas Street, Room
      Creditors may attend, but are not
      required to do so.                  Cell phones are not permitted in the Courthouse
                                                                                                         243A, White Plains, NY 10601−5008
                                          without an Attorney Secure Pass which can be
                                          obtained at the U.S. District Court Clerk's Office.

                                                                                                           For more information, see page 2 >
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                                                    Certificate of Notice Pg 3 of 4
Debtor East Village Properties LLC                                                                                          Case number 17−22453−rdd


  7. Proof of claim deadline                Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send
                                            you another notice.

                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office.
     All Proofs of Claim must be           Your claim will be allowed in the amount scheduled unless:
     filed electronically on the
     Court's website or mailed to                  • you
                                                     your claim is designated as disputed, contingent, or unliquidated;
     the court at the address listed               • you file a proof of claim in a different amount; or
     in section 5.                                 •     receive another notice.

                                           If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                           must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                           You may file a proof of claim even if your claim is scheduled.

                                           You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                           of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                           explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                           rights, including the right to a jury trial.


  8. Exception to discharge                You must start a judicial proceeding by filing a complaint if you want to have a debt excepted from
      The bankruptcy clerk's office must   discharge under 11 U.S.C. § 1141(d)(6)(A) and Fed. R. Bankr. P. 4007.
      receive a complaint and any required
      filing fee.


                                            If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign               extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                            have any questions about your rights in this case.


                                            Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                            court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                            and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                            hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                            trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                            business.


                                            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                            debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                    debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                            discharge under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by filing a complaint and
                                            paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F (For Corporations or Partnerships)                    Notice of Chapter 11 Bankruptcy Case                                             page 2
                17-22453-rdd           Doc 5     Filed 04/01/17 Entered 04/02/17 00:21:13                          Imaged
                                                 Certificate of Notice Pg 4 of 4
                                               United States Bankruptcy Court
                                               Southern District of New York
In re:                                                                                                     Case No. 17-22453-rdd
East Village Properties LLC                                                                                Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0208-7                  User: agvargas                     Page 1 of 1                          Date Rcvd: Mar 30, 2017
                                      Form ID: 309F                      Total Noticed: 13


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 01, 2017.
db             +East Village Properties LLC,    777 Third Avenue,    17th Floor,    New York, NY 10017-1305
smg            +N.Y. State Unemployment Insurance Fund,    P.O. Box 551,    Albany, NY 12201-0551
smg            +United States Attorney’s Office,    Southern District of New York,
                 Attention: Tax & Bankruptcy Unit,    86 Chambers Street, Third Floor,     New York, NY 10007-1825
7121949        +CORP. COUNSEL FOR NYC,    100 CHURCH STREET,    NEW YORK, NY 10007-2668
7121950        +EVF1 LLC,   C/O KRISS & FEUERSTEIN LLP,    360 LEXINGTON AVE., SUITE 1200,
                 NEW YORK, NY 10017-6502
7121953        +NYC DEPT. OF FINANCE,    345 ADAMS STREET, 3RD FL.,    ATTN: LEGAL AFFAIRS,
                 BROOKLYN, NY 11201-3719
7121954         OFFICE OF THE ATTORNEY GENERAL,    THE CAPITOL,    ALBANY, NY 12224
7121955        +US ATTY OFFICE -SDNY,    86 CHAMBERS STREET,    ATTN: TAX AND BANKRUPTCY,
                 NEW YORK, NY 10007-1825

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: amg@robinsonbrog.com Mar 30 2017 19:40:15      Arnold Mitchell Greene,
                 Robinson Brog Leinwand Greene,    Genovese & Gluck, P.C.,   875 Third Avenue,    9th Floor,
                 New York, NY 10022
smg             E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Mar 30 2017 19:40:45
                 New York State Tax Commission,    Bankruptcy/Special Procedures Section,   P.O. Box 5300,
                 Albany, NY 12205-0300
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Mar 30 2017 19:40:21      United States Trustee,
                 Office of the United States Trustee,    U.S. Federal Office Building,
                 201 Varick Street, Room 1006,    New York, NY 10014-9449
7121951        +EDI: IRS.COM Mar 30 2017 19:43:00      INTERNAL REVENUE SERVICE,   PO BOX 7346,
                 PHILADELPHIA, PA 19101-7346
7121952        +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Mar 30 2017 19:40:45
                 NEW YORK STATE DEPT. OF FINANC,    ATTN: BANKRUPTCY SPECIAL PROC,   PO BOX 5300,
                 ALBANY, NY 12205-0300
                                                                                             TOTAL: 5

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
smg*              Internal Revenue Service,   PO Box 7346,   Philadelphia, PA                    19101-7346
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 01, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 30, 2017 at the address(es) listed below:
              Arnold Mitchell Greene   on behalf of Debtor   East Village Properties LLC amg@robinsonbrog.com,
               rms@robinsonbrog.com;ls@robinsonbrog.com;cy@robinsonbrog.com;nfm@robinsonbrog.com
                                                                                            TOTAL: 1
